                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

                                                      Case No. 3:23-md-03071

                                                      MDL No. 3071
 In re: RealPage, Inc., Rental Software
                                                      Judge Waverly D. Crenshaw, Jr.
 Antitrust Litigation (No. II)
                                                      This Document Relates to:
                                                      3:23-cv-00979


                   DEFENDANT ECI MANAGEMENT, LLC’S
     ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’ SECOND AMENDED
                 CONSOLIDATED CLASS ACTION COMPLAINT

        Defendant ECI Management, LLC (“ECI”) files the following Answer and Affirmative

Defenses to the Second Amended Class Action Complaint (“Complaint”) filed by Plaintiffs.

        The preamble to the Complaint asserts legal conclusions and Plaintiffs’ description of their

claims and allegations to which no response is required. To the extent the introductory paragraph

contains factual allegations, ECI denies those allegations.

        Except to any extent expressly admitted herein, ECI denies all allegations in the headings,

footnotes, figures, and appendices that appear in the Complaint. By noting or admitting that the

Complaint purports to characterize, reference, or quote particular documents or statements, ECI

does not admit the truth of any assertion in the referenced document or statement. Moreover, any

factual averment that is admitted below is admitted only as to ECI and only as to the specific facts

stated therein and not as to any conclusions, legal or otherwise, characterizations, implications, or

speculation in the averment or the Complaint as a whole.

                                            ANSWER

I.      INTRODUCTION

        1.     ECI denies the allegations in Paragraph 1.


                                                 1
Case 3:24-cv-00274        Document 226        Filed 02/05/24      Page 1 of 107 PageID #: 5853
       2.      ECI admits that it owns and manages certain multifamily residential apartment

buildings. ECI further admits that, at certain times and for certain properties, it has used Lease

Rent Options (“LRO”) as one part of its multi-faceted revenue management process. ECI denies

that different RealPage products can appropriately be grouped together as “RMS.” ECI denies that

“RealPage’s Revenue Management Solutions [were or are used] to coordinate and agree upon

rental housing pricing and supply.” ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 2 as to any other Defendant and denies them on that

basis. ECI denies any remaining allegations in Paragraph 2.

       3.      ECI admits that it owns and manages certain multifamily residential apartment

buildings. ECI further admits that, at certain times and for certain properties, it has used LRO as

one part of its multi-faceted revenue management process. ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI also denies that “RMS [was or is

used] to coordinate and agree upon rental housing and supply.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the allegations in Paragraph 3 as to any

other Defendant and denies them on that basis. ECI denies any remaining allegations in Paragraph

3.

       4.      The allegations in the last sentence of Paragraph 4 purport to quote a document that

speaks for itself. ECI denies the allegations in Paragraph 4 to the extent they mischaracterize or

are inconsistent with that document. ECI denies the remaining allegations in Paragraph 4.

       5.      The allegations in Paragraph 5 purport to quote a document that speaks for itself.

ECI denies the allegations in Paragraph 5 to the extent they mischaracterize or are inconsistent

with that document. ECI denies the remaining allegations in Paragraph 5.

       6.      ECI denies the allegations in Paragraph 6.




                                                2
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 2 of 107 PageID #: 5854
       7.      The allegations in Paragraph 7 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 7 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in Paragraph 7 to the extent they

relate to ECI. ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 7 as they relate to any other Defendant and denies them on that basis.

       8.      The allegations in the first two sentences of Paragraph 8 purport to quote documents

that speak for themselves. ECI denies the allegations in Paragraph 8 to the extent they

mischaracterize or are inconsistent with those documents. ECI denies the remaining allegations in

Paragraph 8.

II.    BACKGROUND

       9.      ECI denies the allegations in the first sentence in Paragraph 9. ECI denies the

remaining allegations to the extent they relate to ECI. ECI lacks knowledge or information

sufficient to form a belief as to the remaining allegations as they relate to any other Defendant and

denies them on that basis.

       10.     The allegations in Paragraph 10 purport to quote a document that speaks for itself.

ECI denies the allegations in Paragraph 10 to the extent they mischaracterize or are inconsistent

with that document. ECI denies the allegations in Paragraph 10 to the extent they relate to ECI.

ECI denies the allegations in the last sentence in Paragraph 10. ECI lacks knowledge or

information sufficient to form a belief as to the remaining allegations in Paragraph 10 and denies

them on that basis.

       11.     The allegations in Paragraph 11 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 11 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 11.

       12.     ECI denies the allegations in Paragraph 12.


                                                 3
Case 3:24-cv-00274        Document 226        Filed 02/05/24      Page 3 of 107 PageID #: 5855
       13.     The allegations in Paragraph 13 purport to quote a document that speaks for itself.

ECI denies the allegations in Paragraph 13 to the extent they mischaracterize or are inconsistent

with that document. ECI denies the remaining allegations in Paragraph 13.

       14.     ECI admits that it has paid a fee to RealPage related to the use of LRO. ECI further

admits that it has contracted with RealPage related to the use of LRO. ECI denies the remaining

allegations in Paragraph 14 to the extent they relate to ECI. ECI lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 14 as they relate to any

other Defendant and denies them on that basis.

       15.     The allegations in Paragraph 15 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 15 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in Paragraph 15 to the extent they

relate to ECI. ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 15 as they relate to any other Defendant and denies them on that basis.

       16.     The allegations in Paragraph 16 purport to quote a document that speaks for itself.

ECI denies the allegations in Paragraph 16 to the extent they mischaracterize or are inconsistent

with that document. ECI denies the remaining allegations in Paragraph 16.

       17.     The allegations in Paragraph 17 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 17 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in Paragraph 17 to the extent they

relate to ECI. ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 17 as they relate to any other Defendant and denies them on that basis.

       18.     The allegations in Paragraph 18 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 18 to the extent they mischaracterize




                                                 4
Case 3:24-cv-00274        Document 226        Filed 02/05/24      Page 4 of 107 PageID #: 5856
or are inconsistent with those documents or statements. ECI denies the allegations in Paragraph 18

to the extent they relate to ECI. ECI lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 18 as they relate to any other Defendant and denies

them on that basis.

       19.     The allegations in Paragraph 19 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 19 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the allegations in Paragraph 19

to the extent they relate to ECI. ECI lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 19 as they relate to any other Defendant and denies

them on that basis.

       20.     The allegations in Paragraph 20 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 20 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the allegations in Paragraph 20

to the extent they relate to ECI. ECI lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 20 as they relate to any other Defendant and denies

them on that basis.

       21.     The allegations in Paragraph 21 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 21 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 21.

       22.     ECI denies the allegations in Paragraph 22.

       23.     The allegations in Paragraph 23 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 23 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the remaining allegations in




                                                5
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 5 of 107 PageID #: 5857
Paragraph 23.

       24.      The allegations in Paragraph 24 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 24 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the remaining allegations in

Paragraph 24.

       25.      The allegations in Paragraph 25 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 25 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the remaining allegations in

Paragraph 25.

       26.      The allegations in Paragraph 26 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 26 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 26.

       27.      The allegations in Paragraph 27 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 27 to the extent they mischaracterize or are

inconsistent with those documents or statements. ECI denies the remaining allegations in

Paragraph 27.

       28.      The allegations in Paragraph 28 purport to quote a document that speaks for itself.

ECI denies the allegations in Paragraph 28 to the extent they mischaracterize or are inconsistent

with that document. ECI denies the remaining allegations in Paragraph 28.

       29.      The allegations in Paragraph 29 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 29 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the remaining allegations in

Paragraph 29.




                                                 6
Case 3:24-cv-00274        Document 226        Filed 02/05/24     Page 6 of 107 PageID #: 5858
       30.      ECI denies the allegations in Paragraph 30.

       31.      The allegations in Paragraph 31 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 31 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the remaining allegations in

Paragraph 31.

       32.      ECI admits that it has considered, and continues to consider, occupancy as one part

of its multi-faceted revenue management process. ECI denies the remaining allegations in

Paragraph 32.

       33.      The allegations in Paragraph 33 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 33 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 33.

       34.      ECI denies the allegations in Paragraph 34.

       35.      The allegations in Paragraph 35 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 35 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 35.

       36.      The allegations in Paragraph 36 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 36 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the remaining allegations in

Paragraph 36.

       37.      The allegations in Paragraph 37 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 37 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 37.

       38.      The allegations in Paragraph 38 purport to quote documents or statements that




                                                 7
Case 3:24-cv-00274        Document 226        Filed 02/05/24     Page 7 of 107 PageID #: 5859
speak for themselves. ECI denies the allegations in Paragraph 38 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the remaining allegations in

Paragraph 38.

       39.      The allegations in Paragraph 39 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 39 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the remaining allegations in

Paragraph 39.

       40.      The allegations in Paragraph 40 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 40 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 40.

       41.      The allegations in Paragraph 41 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 41 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies the remaining allegations in

Paragraph 41 to the extent they relate to ECI. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in Paragraph 41 as they relate to any other Defendant

and denies them on that basis.

       42.      The allegations in Paragraph 42 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 42 to the extent they mischaracterize

or are inconsistent with those documents or statements. ECI denies that it has engaged in any

“misconduct,” “collusion,” or “anticompetitive conduct” as alleged in Paragraph 42 and in the

Complaint. ECI lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 42 and denies them on that basis.

       43.      ECI denies the allegations in Paragraph 43.




                                                  8
Case 3:24-cv-00274        Document 226         Filed 02/05/24      Page 8 of 107 PageID #: 5860
III.   JURISDICTION AND VENUE

       44.     ECI admits that Plaintiffs purport to bring a putative class action lawsuit against

Defendants named in this action under the Clayton Act and the Sherman Act. ECI denies that it

has committed any torts, wrongs, or wrongful activities and denies that Plaintiffs suffered any

damages, losses, or impairments of their rights. ECI denies the remaining allegations in Paragraph

44.

       45.     ECI admits that Plaintiffs purport to allege claims over which this Court has

jurisdiction. ECI denies that it has committed any torts, wrongs, or wrongful activities and denies

that Plaintiffs suffered any damages, losses, or impairments of their rights. ECI denies the

remaining allegations in Paragraph 45.

       46.     The allegations in Paragraph 46 purport to reference documents that speak for

themselves. ECI denies the allegations in Paragraph 46 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies any remaining allegations in Paragraph 46.

       47.     ECI admits that it transacts business in this District and in the District of the

transferor court, the United States District Court for the Northern District of Georgia. ECI denies

that it has committed any torts, wrongs, or wrongful activities and denies that Plaintiffs suffered

any damages, losses, or impairments of their rights. ECI lacks knowledge or information sufficient

to form a belief as to the truth of the allegations in Paragraph 47 regarding any other Defendant,

and on that basis denies them. ECI denies the remaining allegations in Paragraph 47.

       48.     ECI denies the allegations in Paragraph 48.

       49.     ECI denies the allegations in Paragraph 49.

IV.    THE PARTIES

       50.     ECI denies the allegations in the last sentence of Paragraph 50. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in


                                                 9
Case 3:24-cv-00274        Document 226        Filed 02/05/24      Page 9 of 107 PageID #: 5861
Paragraph 50, and on that basis denies them.

       51.     ECI denies the allegations in the last sentence of Paragraph 51. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 51, and on that basis denies them.

       52.     ECI denies the allegations in the last sentence of Paragraph 52. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 52, and on that basis denies them.

       53.     ECI denies the allegations in the last sentence of Paragraph 53. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 53, and on that basis denies them.

       54.     ECI denies the allegations in the last sentence of Paragraph 54. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 54, and on that basis denies them.

       55.     ECI denies the allegations in the last sentence of Paragraph 55. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 55, and on that basis denies them.

       56.     ECI denies the allegations in the last sentence of Paragraph 56. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 56, and on that basis denies them.

       57.     ECI denies the allegations in the last sentence of Paragraph 57. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 57, and on that basis denies them.

       58.     ECI denies the allegations in the last sentence of Paragraph 58. ECI lacks




                                                10
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 10 of 107 PageID #: 5862
knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 58, and on that basis denies them.

        59.    ECI denies the allegations in the last sentence of Paragraph 59. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 59, and on that basis denies them.

        60.    ECI denies the allegations in the last sentence of Paragraph 60. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 60, and on that basis denies them.

        61.    The allegations in Paragraph 61 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 61 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies that different RealPage products can appropriately

be grouped together as “RMS.” ECI lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in Paragraph 61, and on that basis denies them.

        62.    The allegations in Paragraph 62 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 62 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in Paragraph 62 as to

“anticompetitive activities” and “cartel profits.” ECI denies that different RealPage products can

appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 62, and on that basis denies

them.

        63.    The allegations in Paragraph 63 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 63 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief




                                                11
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 11 of 107 PageID #: 5863
as to the truth of the remaining allegations in Paragraph 63, and on that basis denies them.

       64.     The allegations in Paragraph 64 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 64 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 64, and on that basis denies them.

       65.     The allegations in Paragraph 65 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 65 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 65, and on that basis denies them.

       66.     The allegations in Paragraph 66 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 66 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 66, and on that basis denies them.

       67.     ECI denies the allegations in the last sentence of Paragraph 67. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 67, and on that basis denies them.

       68.     ECI denies the allegations in Paragraph 68.

       69.     ECI denies the allegations in the last sentence of Paragraph 69. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 69, and on that basis denies them.

       70.     ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the second sentence of Paragraph 70, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 70.




                                                12
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 12 of 107 PageID #: 5864
       71.     ECI denies the allegations in the last sentence of Paragraph 71 ECI lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

71, and on that basis denies them.

       72.     ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the second sentence of Paragraph 72, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 72.

       73.     ECI denies the allegations in the last sentence of Paragraph 73. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 73, and on that basis denies them.

       74.     ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence of Paragraph 74, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 74.

       75.     ECI denies the allegations in Paragraph 75.

       76.     ECI denies the allegations in the last sentence of Paragraph 76. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 76, and on that basis denies them.

       77.     ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 77, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 77.

       78.     ECI denies the allegations in Paragraph 78.

       79.     ECI denies the allegations in the last sentence of Paragraph 79. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 79, and on that basis denies them.




                                                13
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 13 of 107 PageID #: 5865
       80.     ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and

last sentences in Paragraph 80, and on that basis denies them. ECI denies the remaining allegations

in Paragraph 80.

       81.     ECI denies the allegations in Paragraph 81.

       82.     ECI denies the allegations in the last sentence of Paragraph 82. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 82, and on that basis denies them.

       83.     ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the second sentence of Paragraph 83, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 83.

       84.     ECI denies the allegations in the last sentence of Paragraph 84. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 84, and on that basis denies them.

       85.     ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 85, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 85.

       86.     ECI denies the allegations in Paragraph 86.

       87.     ECI denies the allegations in the last sentence of Paragraph 87. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 87, and on that basis denies them.

       88.     ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and




                                                 14
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 14 of 107 PageID #: 5866
last sentences in Paragraph 88, and on that basis denies them. ECI denies the remaining allegations

in Paragraph 88.

       89.     ECI denies the allegations in Paragraph 89.

       90.     ECI denies the allegations in the last sentence of Paragraph 90. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 90, and on that basis denies them.

       91.     ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 91, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 91.

       92.     ECI denies the allegations in Paragraph 92.

       93.     ECI denies the allegations in the last sentence of Paragraph 93. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 93, and on that basis denies them.

       94.     ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 94, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 94.

       95.     ECI denies the allegations in Paragraph 95.

       96.     ECI denies the allegations in the last sentence of Paragraph 96. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 96, and on that basis denies them.

       97.     ECI denies the allegations in Paragraph 97.

       98.     ECI denies the allegations in Paragraph 98.

       99.     ECI denies the allegations in the last sentence of Paragraph 99. ECI lacks




                                                15
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 15 of 107 PageID #: 5867
knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 99, and on that basis denies them.

       100.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and

last sentences in Paragraph 100, and on that basis denies them. ECI denies the remaining

allegations in Paragraph 100.

       101.    ECI denies the allegations in Paragraph 101.

       102.    ECI denies the allegations in the last sentence of Paragraph 102. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 102, and on that basis denies them.

       103.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence of Paragraph 103, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 103.

       104.    ECI denies the allegations in Paragraph 104.

       105.    ECI denies the allegations in the last sentence of Paragraph 105. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 105, and on that basis denies them.

       106.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 106, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 106.

       107.    ECI denies the allegations in Paragraph 107.

       108.    On October 31, 2023, ECI Management, LLC was substituted for ECI Group, Inc.

in this action. All references in the Complaint to “ECI Group, Inc.” will be considered to be




                                                 16
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 16 of 107 PageID #: 5868
references to “ECI Management, LLC.” ECI Management, LLC (referred to as ECI herein) is a

Georgia limited liability company with its principal place of business in Atlanta, Georgia. ECI

admits that it owns or manages certain multifamily residential apartment buildings in the greater

Atlanta, Houston, Nashville, Orlando, and Tampa areas. ECI admits that it currently manages over

5,000 multifamily rental units in various states in the United States. ECI denies Plaintiffs’

allegation that Atlanta, Houston, Nashville, Orlando, and Tampa are “regional submarkets.” ECI

denies the remaining allegations in Paragraph 108, including the allegations in the last sentence in

Paragraph 108.

       109.    ECI admits that it has entered into a contract with RealPage related to the use of

LRO. ECI admits that, at certain times and for certain properties, it has used LRO as one part of

its multi-faceted revenue management process. ECI further admits that it has paid a fee to RealPage

related to the use of LRO. ECI admits that, at certain times and for certain properties, Emily Mask,

Associate Vice President of Revenue Management and Systems Support, has been involved in

ECI’s use of LRO. ECI denies that different RealPage products can appropriately be grouped

together as “RMS.” ECI denies the remaining allegations in Paragraph 109.

       110.    ECI denies the allegations in Paragraph 110.

       111.    ECI denies the allegations in the last sentence of Paragraph 111. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 111, and on that basis denies them.

       112.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 112, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 112.

       113.    ECI denies the allegations in Paragraph 113.




                                                17
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 17 of 107 PageID #: 5869
       114.    ECI denies the allegations in the last sentence of Paragraph 114. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 114, and on that basis denies them.

       115.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence of Paragraph 115, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 115.

       116.    ECI denies the allegations in Paragraph 116.

       117.    ECI denies the allegations in the last sentence of Paragraph 117. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 117, and on that basis denies them.

       118.    ECI denies the allegations in Paragraph 118.

       119.    ECI denies the allegations in Paragraph 119.

       120.    ECI denies the allegations in the last sentence of Paragraph 120. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 120, and on that basis denies them.

       121.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 121, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 121.

       122.    ECI denies the allegations in Paragraph 122.

       123.    ECI denies the allegations in the last sentence of Paragraph 123. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 123, and on that basis denies them.




                                                18
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 18 of 107 PageID #: 5870
        124.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and

last sentences of Paragraph 124, and on that basis denies them. ECI denies the remaining

allegations in Paragraph 124.

        125.    ECI denies the allegations in Paragraph 125.

        126.    ECI denies the allegations in the last sentence of Paragraph 126. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 126, and on that basis denies them.

        127.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the allegations in the first and last sentences

of Paragraph 127, and on that basis denies them. ECI denies the remaining allegations in Paragraph

127.

        128.    ECI denies the allegations in Paragraph 128.

        129.    ECI denies the allegations in the last sentence of Paragraph 129. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 129, and on that basis denies them.

        130.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and

last sentences in Paragraph 130, and on that basis denies them. ECI denies the remaining

allegations in Paragraph 130.

        131.    ECI denies the allegations in Paragraph 131.




                                                   19
Case 3:24-cv-00274        Document 226          Filed 02/05/24       Page 19 of 107 PageID #: 5871
       132.    ECI denies the allegations in the last sentence of Paragraph 132. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 132, and on that basis denies them.

       133.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 133, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 133.

       134.    ECI denies the allegations in Paragraph 134.

       135.    ECI denies the allegations in the last sentence of Paragraph 135. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 135, and on that basis denies them.

       136.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 136, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 136.

       137.    ECI denies the allegations in Paragraph 137.

       138.    ECI denies the allegations in the last sentence of Paragraph 138. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 138, and on that basis denies them.

       139.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence of Paragraph 139, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 139.

       140.    ECI denies the allegations in Paragraph 140.




                                                20
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 20 of 107 PageID #: 5872
       141.    ECI denies the allegations in the last sentence of Paragraph 141. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 141, and on that basis denies them.

       142.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and

last sentences in Paragraph 142, and on that basis denies them. ECI denies the remaining

allegations in Paragraph 142.

       143.    ECI denies the allegations in Paragraph 143.

       144.    ECI denies the existence of the conspiracy alleged in Paragraph 144. The third

sentence in Paragraph 144 is a conclusion of law to which no response is required. To the extent a

response is required, that sentence is denied. ECI denies the allegations in the last sentence of

Paragraph 144. ECI lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in Paragraph 144, and on that basis denies them.

       145.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and

last sentences of Paragraph 145, and on that basis denies them. ECI denies the remaining

allegations in Paragraph 145.

       146.    ECI denies the allegations in Paragraph 146.

       147.    ECI denies the allegations in the last sentence of Paragraph 147. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 147, and on that basis denies them.




                                                 21
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 21 of 107 PageID #: 5873
       148.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 148, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 148.

       149.    ECI denies the allegations in Paragraph 149.

       150.    ECI denies the allegations in the last sentence of Paragraph 150. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 150, and on that basis denies them.

       151.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and

last sentences in Paragraph 151, and on that basis denies them. ECI denies the remaining

allegations in Paragraph 151.

       152.    ECI denies the allegations in Paragraph 152.

       153.    ECI denies the allegations in the last sentence of Paragraph 153. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 153, and on that basis denies them.

       154.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and

last sentences in Paragraph 154, and on that basis denies them. ECI denies the remaining

allegations in Paragraph 154.

       155.    ECI denies the allegations in Paragraph 155.

       156.    ECI denies the allegations in the last sentence of Paragraph 156. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 156, and on that basis denies them.




                                                 22
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 22 of 107 PageID #: 5874
       157.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and

last sentences in Paragraph 157, and on that basis denies them. ECI denies the remaining

allegations in Paragraph 157.

       158.    ECI denies the allegations in Paragraph 158.

       159.    ECI denies the allegations in the last sentence of Paragraph 159. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 159, and on that basis denies them.

       160.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 160, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 160.

       161.    ECI denies the allegations in Paragraph 161.

       162.    ECI denies the allegations in the last sentence of Paragraph 162. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 162, and on that basis denies them.

       163.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 163, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 163.

       164.    ECI denies the allegations in Paragraph 164.

       165.    ECI denies the allegations in the last sentence of Paragraph 165. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 165, and on that basis denies them.




                                                 23
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 23 of 107 PageID #: 5875
       166.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 166, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 166.

       167.    ECI denies the allegations in Paragraph 167.

       168.    ECI denies the allegations in the last sentence of Paragraph 168. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 168, and on that basis denies them.

       169.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 169, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 169.

       170.    ECI denies the allegations in Paragraph 170.

       171.    ECI denies the allegations in the last sentence of Paragraph 171. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 171, and on that basis denies them.

       172.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first

sentence in Paragraph 172, and on that basis denies them. ECI denies the remaining allegations in

Paragraph 172.

       173.    ECI denies the allegations in Paragraph 173.

       174.    ECI denies the allegations in the last sentence of Paragraph 174. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 174, and on that basis denies them.




                                                24
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 24 of 107 PageID #: 5876
       175.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 175, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 175.

       176.    ECI denies the allegations in Paragraph 176.

       177.    ECI denies the allegations in the last sentence of Paragraph 177. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 177, and on that basis denies them.

       178.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first and

last sentences in Paragraph 178, and on that basis denies them. ECI denies the remaining

allegations in Paragraph 178.

       179.    ECI denies the allegations in Paragraph 179.

       180.    ECI denies the allegations in the last sentence of Paragraph 180. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 180, and on that basis denies them.

       181.    ECI denies the allegations in Paragraph 181.

       182.    ECI denies the allegations in the last sentence of Paragraph 182. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 182, and on that basis denies them.

       183.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 183, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 183.

       184.    ECI denies the allegations in Paragraph 184.




                                                 25
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 25 of 107 PageID #: 5877
       185.    ECI denies the allegations in the last sentence of Paragraph 185. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 185, and on that basis denies them.

       186.    ECI denies the existence of a “Conspiracy Period.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in the first

sentence in Paragraph 186, and on that basis denies them. ECI denies the remaining allegations in

Paragraph 186.

       187.    ECI denies the allegations in the last sentence of Paragraph 187. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 187, and on that basis denies them.

       188.    ECI denies the allegations in Paragraph 188.

       189.    ECI denies the allegations in the last sentence of Paragraph 189. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 189, and on that basis denies them.

       190.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in the last sentence in Paragraph 190, and on that basis denies them. ECI denies the

remaining allegations in Paragraph 190.

       191.    ECI denies the allegations in Paragraph 191.

       192.    ECI denies the allegations in the last sentence of Paragraph 192. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 192, and on that basis denies them.

       193.    ECI denies the allegations in Paragraph 193.




                                                26
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 26 of 107 PageID #: 5878
       194.    ECI denies the allegations in Paragraph 194 to the extent they imply that ECI

“would retaliate” or that ECI threatened to “retaliate.” ECI denies that different RealPage products

can appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in Paragraph 194, and on that basis

denies them.

       195.    ECI denies the allegations in Paragraph 195.

       196.    ECI denies the allegations in Paragraph 196.

       197.    “ECI denies the allegations in the last sentence of Paragraph 197. ECI denies that

different RealPage products can appropriately be grouped together as “RMS.” ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 197, and on that basis denies them.

       198.    The allegations in Paragraph 198 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 198 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI admits that it owns

and manages certain multifamily residential apartment buildings and that, at certain times and for

certain properties, it has used LRO as one part of its multi-faceted revenue management process.

ECI denies that different RealPage products can appropriately be grouped together as “RMS.” ECI

denies the remaining allegations in Paragraph 198 to the extent they relate to ECI. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in Paragraph

198 as they relate to any other Defendant, and on that basis denies them.

       199.    ECI denies that different RealPage products can appropriately be grouped together

as “RMS.” ECI denies the allegations in Paragraph 199 to the extent they relate to ECI. ECI lacks




                                                27
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 27 of 107 PageID #: 5879
knowledge or information sufficient to form a belief as to the truth of the allegations in Paragraph

199 as they relate to any other Defendant, and on that basis denies them.

       200.    ECI denies the allegations in Paragraph 200.

       201.    ECI denies that different RealPage products can appropriately be grouped together

as “RMS.” ECI denies the allegations in the last sentence in Paragraph 201. ECI lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

201, and on that basis denies them.

V.     FACTUAL ALLEGATIONS

       A.      Historical Competition Among Residential Property Managers.

       202.    The allegations in Paragraph 202 purport to quote a document that speaks for itself.

ECI denies the allegations in Paragraph 202 to the extent they mischaracterize or are inconsistent

with that document. ECI admits that it has considered, and continues to consider, both occupancy

and turnover rates as parts of its multi-faceted revenue management process. ECI denies the

remaining allegations in Paragraph 202.

       203.    ECI denies the allegations in Paragraph 203.

       204.    The allegations in Paragraph 204 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 204 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 204.

       205.    ECI denies the allegations in Paragraph 205.

       206.    The allegations in Paragraph 206 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 206 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 206.




                                                28
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 28 of 107 PageID #: 5880
       207.    The allegations in Paragraph 207 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 207 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 207.

       B.      Evolution of RealPage’s Revenue Management Solutions.

       208.    The allegations in Paragraph 208 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 208 to the extent they mischaracterize or are

inconsistent with those documents. ECI admits that it owns and manages certain multifamily

residential apartment buildings and that it has, at certain times and for certain properties, used LRO

as one part of its multi-faceted revenue management process. ECI lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in the second sentence of Paragraph 208

as to any other Defendant and denies them on that basis. ECI denies the remaining allegations in

Paragraph 208.

       209.    The allegations in Paragraph 209 cite documents that speak for themselves. ECI

denies the allegations in Paragraph 209 to the extent they mischaracterize or are inconsistent with

those documents. ECI denies that different RealPage products can appropriately be grouped

together as “RMS.” ECI denies the allegations in the fifth sentence in Paragraph 209. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 209 and denies them on that basis.

       210.    The allegations in Paragraph 210 purport to quote from and cite documents that

speak for themselves. ECI denies the allegations in Paragraph 210 to the extent they

mischaracterize or are inconsistent with those documents. ECI denies the second and last sentences

in Paragraph 210. ECI lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in Paragraph 210 and denies them on that basis.




                                                 29
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 29 of 107 PageID #: 5881
       211.    The allegations in Paragraph 211 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 211 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 211.

       212.    ECI denies the allegations in Paragraph 212.

       213.    The allegations in Paragraph 213 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 213 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in the first sentence in Paragraph

213. ECI lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 213 and denies them on that basis.

       214.    The allegations in Paragraph 214 purport to cite documents that speak for

themselves. ECI denies the allegations in Paragraph 214 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 214 and denies them on that basis.

       215.    The allegations in Paragraph 215 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 215 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in the first sentence in Paragraph

215. ECI denies that it has committed any torts, wrongs, or wrongful activities. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 215 and denies them on that basis.

       216.    The allegations in Paragraph 216 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 216 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies that different RealPage products can appropriately

be grouped together as “RMS.” ECI denies the remaining allegations in Paragraph 216.




                                                30
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 30 of 107 PageID #: 5882
       217.    The allegations in Paragraph 217 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 217 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 217 and denies them on that basis.

       218.    The allegations in Paragraph 218 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 218 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in the first sentence in Paragraph

218. ECI denies any alleged “anticompetitive practices.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 218 and denies

them on that basis.

       219.    The allegations in Paragraph 219 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 219 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in the first sentence of Paragraph

219. ECI lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 219 and denies them on that basis.

       220.    The allegations in Paragraph 220 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 220 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies that different RealPage products can appropriately

be grouped together as “RMS.” ECI lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in Paragraph 220 and denies them on that basis.

       221.    The allegations in Paragraph 221 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 221 to the extent they mischaracterize or are




                                                31
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 31 of 107 PageID #: 5883
inconsistent with those documents. ECI denies the allegations in the first and second sentences in

Paragraph 221. ECI lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in Paragraph 221 and denies them on that basis.

       222.    ECI denies the allegations in Paragraph 222.

       223.    The allegations in Paragraph 223 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 223 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies that different RealPage products can appropriately

be grouped together as “RMS.” ECI denies the remaining allegations in Paragraph 223.

       224.    The allegations in Paragraph 224 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 224 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in the first two sentences in

Paragraph 224. ECI denies that different RealPage products can appropriately be grouped together

as “RMS.” ECI lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 224 and denies them on that basis.

       225.    The allegations in Paragraph 225 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 225 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 225.

       226.    The allegations in Paragraph 226 purport to excerpt and cite a document that speaks

for itself. ECI denies the allegations in Paragraph 226 to the extent they mischaracterize or are

inconsistent with that document. ECI denies the remaining allegations in Paragraph 226.

       C.      Property Management Companies Effectively Outsourced Pricing and Supply
               Decisions to RealPage, Eliminating Competition.

       227.    ECI denies the allegations in the second and third sentences in Paragraph 227. ECI

denies the allegations in the first sentence in Paragraph 227 as they relate to ECI. ECI lacks



                                               32
Case 3:24-cv-00274      Document 226        Filed 02/05/24      Page 32 of 107 PageID #: 5884
knowledge or information sufficient to form a belief as to the truth of the allegations in the first

sentence in Paragraph 227 as to any other Defendant and denies them on that basis.

       228.    The allegations in Paragraph 228 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 228 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 228.

       229.    The allegations in Paragraph 229 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 229 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 229.

       230.    The allegations in Paragraph 230 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 230 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 230.

       231.    ECI denies the allegations in Paragraph 231.

       232.    The allegations in Paragraph 232 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 232 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 232.

       233.    The allegations in Paragraph 233 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 233 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 233

and denies them on that basis.




                                                 33
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 33 of 107 PageID #: 5885
       234.    The allegations in Paragraph 234 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 234 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in the last sentence of Paragraph

234. ECI lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 234 and denies them on that basis.

       235.    The allegations in Paragraph 235 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 235 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in the first sentence in Paragraph

235 as they relate to ECI. ECI denies that different RealPage products can appropriately be grouped

together as “RMS.” ECI lacks knowledge or information sufficient to form a belief as to the truth

of the remaining allegations in Paragraph 235 and denies them on that basis.

       236.    The allegations in Paragraph 236 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 236 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 236.

       237.    The allegations in Paragraph 237 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 237 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 237 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 237 as they relate to any other Defendant and

denies them on that basis.

       238.    The allegations in Paragraph 238 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 238 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations




                                                34
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 34 of 107 PageID #: 5886
in Paragraph 238 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 238 as they relate to any other Defendant and

denies them on that basis.

       239.    The allegations in Paragraph 239 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 239 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 239 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 239 as they relate to any other Defendant and

denies them on that basis.

       240.    The allegations in Paragraph 240 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 240 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 240 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 240 as they relate to any other Defendant and

denies them on that basis.

       241.    The allegations in Paragraph 241 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 241 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 241 as they relate to ECI. ECI denies that different RealPage products can

appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in Paragraph 241 as they relate to any other Defendant

and denies them on that basis.




                                                 35
Case 3:24-cv-00274        Document 226        Filed 02/05/24       Page 35 of 107 PageID #: 5887
       242.    The allegations in Paragraph 242 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 242 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 242 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 242 as they relate to any other Defendant and

denies them on that basis.

       243.    The allegations in Paragraph 243 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 243 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 243 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 243 as they relate to any other Defendant and

denies them on that basis.

       244.    ECI denies the allegations in Paragraph 244.

       245.    The allegations in Paragraph 245 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 245 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 245.

       246.    The allegations in Paragraph 246 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 246 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 246 as they relate to ECI. ECI denies that different RealPage products can

appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient to




                                                36
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 36 of 107 PageID #: 5888
form a belief as to the truth of the allegations in Paragraph 246 as they relate to any other Defendant

and denies them on that basis.

       247.    The allegations in Paragraph 247 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 247 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 247 as they relate to ECI. ECI denies that different RealPage products can

appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in Paragraph 247 as they relate to any other Defendant

and denies them on that basis.

       248.    The allegations in Paragraph 248 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 248 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 248 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 248 as they relate to any other Defendant and

denies them on that basis.

       249.    The allegations in Paragraph 249 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 249 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 249 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 249 as they relate to any other Defendant and

denies them on that basis.

       250.    The allegations in Paragraph 250 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 250 to the extent they




                                                 37
Case 3:24-cv-00274        Document 226        Filed 02/05/24       Page 37 of 107 PageID #: 5889
mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 250 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 250 as they relate to any other Defendant and

denies them on that basis.

       251.    The allegations in Paragraph 251 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 251 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in the last sentence in Paragraph 251. ECI denies that different RealPage products can

appropriately be grouped together as “RMS.” ECI denies the remaining allegations in Paragraph

251 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 251 as they relate to any other Defendant and denies

them on that basis.

       252.    The allegations in Paragraph 252 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 252 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 252 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 252 as they relate to any other Defendant and

denies them on that basis.

       253.    The allegations in Paragraph 253 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 253 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 253 as they relate to ECI. ECI denies that different RealPage products can

appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient to




                                                38
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 38 of 107 PageID #: 5890
form a belief as to the truth of the allegations in Paragraph 253 as they relate to any other Defendant

and denies them on that basis.

        254.   The allegations in Paragraph 254 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 254 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the existence

of the alleged conspiracy and of any “co-conspirator[s].” ECI denies the allegations in Paragraph

254 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 254 as they relate to any other Defendant and denies them on

that basis.

        D.     Defendants Collectively Monitor Compliance with the Scheme.

        255.   The allegations in Paragraph 255 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 255 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 255 as they relate to ECI.         ECI denies that different RealPage products can

appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in Paragraph 255 as they relate to any other Defendant

and denies them on that basis.

        256.   The allegations in Paragraph 256 purport to excerpt and/or quote documents that

speak for themselves. ECI denies the allegations in Paragraph 256 to the extent they

mischaracterize or are inconsistent with those documents. ECI denies the allegations in Paragraph

256 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 256 as they relate to any other Defendant and denies them on

that basis.




                                                 39
Case 3:24-cv-00274        Document 226        Filed 02/05/24       Page 39 of 107 PageID #: 5891
       257.    The allegations in Paragraph 257 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 257 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 257 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 257 as they relate to any other Defendant and

denies them on that basis.

       258.    The allegations in Paragraph 258 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 258 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 258 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 258 as they relate to any other Defendant and

denies them on that basis.

       259.    The allegations in Paragraph 259 purport to excerpt and/or quote documents or

statements that speak for themselves. ECI denies the allegations in Paragraph 259 to the extent

they mischaracterize or are inconsistent with those documents or statements. ECI denies the

allegations in Paragraph 259 as they relate to ECI. ECI lacks knowledge or information sufficient

to form a belief as to the truth of the allegations in Paragraph 259 as they relate to any other

Defendant and denies them on that basis.

       260.    The allegations in Paragraph 260 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 260 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 260 as they relate to ECI. ECI lacks knowledge or information sufficient to form a




                                                40
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 40 of 107 PageID #: 5892
belief as to the truth of the allegations in Paragraph 260 as they relate to any other Defendant and

denies them on that basis.

       261.    The allegations in Paragraph 261 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 261 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 261 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 261 as they relate to any other Defendant and

denies them on that basis.

       262.    The allegations in Paragraph 262 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 262 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 262 as they relate to ECI. ECI denies that different RealPage products can

appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in Paragraph 262 as they relate to any other Defendant

and denies them on that basis.

       263.    The allegations in Paragraph 263 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 263 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 263 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 263 as they relate to any other Defendant and

denies them on that basis.

       264.    The allegations in Paragraph 264 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 264 to the extent they




                                                 41
Case 3:24-cv-00274        Document 226        Filed 02/05/24       Page 41 of 107 PageID #: 5893
mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 264 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 264 as they relate to any other Defendant and

denies them on that basis.

       265.    The allegations in Paragraph 265 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 265 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 265 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 265 as they relate to any other Defendant and

denies them on that basis.

       266.    The allegations in Paragraph 266 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 266 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 266 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 266 as they relate to any other Defendant and

denies them on that basis.

       267.    The allegations in Paragraph 267 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 267 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 267 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 267 as they relate to any other Defendant and

denies them on that basis.




                                                42
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 42 of 107 PageID #: 5894
       268.    The allegations in Paragraph 268 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 268 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 268 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 268 as they relate to any other Defendant and

denies them on that basis.

       269.    The allegations in Paragraph 269 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 269 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 269 as they relate to ECI. ECI denies that different RealPage products can

appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in Paragraph 269 as they relate to any other Defendant

and denies them on that basis.

       270.    The allegations in Paragraph 270 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 270 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 270 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 270 as they relate to any other Defendant and

denies them on that basis.

       271.    The allegations in Paragraph 271 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 271 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 271 as they relate to ECI. ECI denies that different RealPage products can




                                                 43
Case 3:24-cv-00274        Document 226        Filed 02/05/24       Page 43 of 107 PageID #: 5895
appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in Paragraph 271 as they relate to any other Defendant

and denies them on that basis.

       272.    The allegations in Paragraph 272 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 272 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 272 as they relate to ECI. ECI denies that different RealPage products can

appropriately be grouped together as “RMS.” ECI lacks knowledge or information sufficient to

form a belief as to the truth of the allegations in Paragraph 272 as they relate to any other Defendant

and denies them on that basis.

       273.    The allegations in Paragraph 273 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 273 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in the second sentence in Paragraph 273. ECI denies the remaining allegations in Paragraph 273

as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief as to the truth

of the remaining allegations in Paragraph 273 as they relate to any other Defendant and denies

them on that basis.

       274.    ECI denies the allegations in Paragraph 274.

       275.    The allegations in Paragraph 275 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 275 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 275 as they relate to ECI. ECI lacks knowledge or information sufficient to form a




                                                 44
Case 3:24-cv-00274        Document 226        Filed 02/05/24       Page 44 of 107 PageID #: 5896
belief as to the truth of the allegations in Paragraph 275 as they relate to any other Defendant and

denies them on that basis.

       276.    ECI denies the allegations in Paragraph 276.

       277.    The allegations in Paragraph 277 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 277 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the existence

of the alleged conspiracy and of any “co-conspirator[s].” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI denies the remaining allegations

in Paragraph 277 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 277 as they relate to any other

Defendant and denies them on that basis.

       278.    The allegations in Paragraph 278 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 278 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the existence

of the alleged “scheme.” ECI denies that different RealPage products can appropriately be grouped

together as “RMS.” ECI denies the remaining allegations in Paragraph 278 as they relate to ECI.

ECI lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 278 as they relate to any other Defendant and denies them on that basis.

       279.    The allegations in Paragraph 279 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 279 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 279 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief




                                                45
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 45 of 107 PageID #: 5897
as to the truth of the allegations in Paragraph 279 as they relate to any other Defendant and denies

them on that basis.

       280.    ECI denies the allegations in Paragraph 280.

       281.    ECI denies the allegations in Paragraph 281.

       282.    The allegations in Paragraph 282 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 282 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 282 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 282 as they relate to any other Defendant and

denies them on that basis.

       283.    The allegations in Paragraph 283 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 283 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 283 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 283 as they relate to any other Defendant and denies

them on that basis.

       284.    The allegations in Paragraph 284 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 284 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 284 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief




                                                46
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 46 of 107 PageID #: 5898
as to the truth of the allegations in Paragraph 284 as they relate to any other Defendant and denies

them on that basis.

       285.    The allegations in Paragraph 285 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 285 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 285 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 285 as they relate to any other Defendant and denies

them on that basis.

       286.    The allegations in Paragraph 286 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 286 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 286 as they relate to ECI. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 286 as they relate to any other Defendant and

denies them on that basis.

       E.      Property Owners and Managers Who Adopted RealPage’s Pricing
               Recommendations Did So With the Common Goal of Raising Rent Prices
               Which Caused Inflated Rental Prices and Reduced Occupancy Levels in Their
               Respective Metro Areas.

       287.    ECI denies the allegations in Paragraph 287.

       288.    The allegations in Paragraph 288 purport to reference documents that speak for

themselves. ECI denies the allegations in Paragraph 288 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 288.

       289.    The allegations in Paragraph 289 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 289 to the extent they



                                                47
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 47 of 107 PageID #: 5899
mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 289.

       290.    The allegations in Paragraph 290 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 290 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 290 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 290 as they relate to any other Defendant and denies

them on that basis.

       291.    The allegations in Paragraph 291 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 291 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 291.

       292.    The allegations in Paragraph 292 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 292 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 292.

       293.    ECI denies the allegations in Paragraph 293.

       294.    The allegations in Paragraph 294 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 294 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 294 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief




                                                48
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 48 of 107 PageID #: 5900
as to the truth of the allegations in Paragraph 294 as they relate to any other Defendant and denies

them on that basis.

       295.    The allegations in Paragraph 295 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 295 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 295 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 295 as they relate to any other Defendant and denies

them on that basis.

       296.    The allegations in Paragraph 296 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 296 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 296 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 296 as they relate to any other Defendant and denies

them on that basis.

       297.    The allegations in Paragraph 297 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 297 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 297 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 297 as they relate to any other Defendant and denies

them on that basis.




                                                49
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 49 of 107 PageID #: 5901
        298.   The allegations in Paragraph 298 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 298 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 298.

        299.   The allegations in Paragraph 299 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 299 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the existence

of the alleged conspiracy and of any “co-conspirator[s].” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI denies the allegations in Paragraph

299 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 299 as they relate to any other Defendant and denies them on

that basis.

        300.   The allegations in Paragraph 300 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 300 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 300 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 300 as they relate to any other Defendant and denies

them on that basis.

        301.   The allegations in Paragraph 301 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 301 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the allegations

in Paragraph 301 as they relate to ECI. ECI lacks knowledge or information sufficient to form a




                                                50
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 50 of 107 PageID #: 5902
belief as to the truth of the allegations in Paragraph 301 as they relate to any other Defendant and

denies them on that basis.

        302.   The allegations in Paragraph 302 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 302 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the existence

of the alleged conspiracy and of any “co-conspirator[s].” ECI denies the allegations in Paragraph

302 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 302 as they relate to any other Defendant and denies them on

that basis.

        303.   The allegations in Paragraph 303 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 303 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 303.

        304.   The allegations in Paragraph 304 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 304 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 304.

        305.   The allegations in Paragraph 305 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 305 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 305.

        306.   The allegations in Paragraph 306 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 306 to the extent they




                                                51
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 51 of 107 PageID #: 5903
mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 306 as they relate to ECI. ECI denies that any rental prices are “artificially inflated.”

ECI lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 306 as they relate to any other Defendant and denies them on that basis.

       307.    The allegations in Paragraph 307 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 307 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 307 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 307 as they relate to any other Defendant and denies

them on that basis.

       308.    The allegations in Paragraph 308 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 308 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI denies the allegations in

Paragraph 308 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 308 as they relate to any other Defendant and denies

them on that basis.

       309.    The allegations in Paragraph 309 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 309 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 309.




                                                52
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 52 of 107 PageID #: 5904
        310.   The allegations in Paragraph 310 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 310 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the existence

of the alleged conspiracy and of any “co-conspirators.” ECI denies the allegations in Paragraph

310 as they relate to ECI. ECI lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 310 as they relate to any other Defendant and denies them on

that basis.

        311.   ECI denies the allegations in Paragraph 311.

        312.   ECI denies the allegations in Paragraph 312.

        F.     Property Owners and Managers Conspired Through Trade Associations to
               Standardize Lease Terms Unfavorable to Plaintiffs and Members of the Class.

        313.   ECI denies the allegations in Paragraph 313.

        314.   The allegations in Paragraph 314 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 314 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 314

and denies them on that basis.

        315.   The allegations in Paragraph 315 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 315 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 315

and denies them on that basis.

        316.   The allegations in Paragraph 316 purport to cite documents that speak for

themselves. ECI denies the allegations in Paragraph 316 to the extent they mischaracterize or are



                                                 53
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 53 of 107 PageID #: 5905
inconsistent with those documents. ECI denies the allegations in the last sentence in Paragraph

316. ECI lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 316 and denies them on that basis.

        317.   The allegations in Paragraph 317 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 317 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the allegations in the last sentence of Paragraph

317. ECI lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 317 and denies them on that basis.

        318.   The allegations in Paragraph 318 purport to cite documents that speak for

themselves. ECI denies the allegations in Paragraph 318 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 318 and denies them on that basis.

        319.   The allegations in Paragraph 319 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 319 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 319

and denies them on that basis.

        320.   The allegations in Paragraph 320 purport to cite documents or statements that speak

for themselves. ECI denies the allegations in Paragraph 320 to the extent they mischaracterize or

are inconsistent with those documents or statements. ECI lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 320 and denies them on

that basis.




                                                 54
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 54 of 107 PageID #: 5906
       321.    The allegations in Paragraph 321 purport to cite documents that speak for

themselves. ECI denies the allegations in Paragraph 321 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 321 and denies them on that basis.

       322.    The allegations in Paragraph 322 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 322 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI lacks knowledge or

information sufficient to form a belief as to the truth of the allegations in Paragraph 322 and denies

them on that basis.

       323.    The allegations in Paragraph 323 purport to cite documents that speak for

themselves. ECI denies the allegations in Paragraph 323 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 323 and denies them on that basis.

       324.    ECI denies the allegations in Paragraph 324 as they relate to ECI. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in Paragraph

324 as to any other Defendant and denies them on that basis.

       325.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 325 and denies them on that basis.

       326.    The allegations in Paragraph 326 purport to reference documents that speak for

themselves. ECI denies the allegations in Paragraph 326 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 326 and denies them on that basis.




                                                 55
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 55 of 107 PageID #: 5907
       327.    The allegations in Paragraph 327 purport to reference documents that speak for

themselves. ECI denies the allegations in Paragraph 327 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 327 and denies them on that basis.

       328.    The allegations in Paragraph 328 purport to quote a document that speaks for itself.

ECI denies the allegations in Paragraph 328 to the extent they mischaracterize or are inconsistent

with that document. Paragraph 328 involves legal conclusions to which no response is required.

To the extent a response is required, ECI denies the allegations in Paragraph 328.

       329.    The allegations in Paragraph 329 purport to reference documents that speak for

themselves. ECI denies the allegations in Paragraph 329 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 329 and denies them on that basis.

       330.    The allegations in Paragraph 330 purport to reference a document that speaks for

itself. ECI denies the allegations in Paragraph 330 to the extent they mischaracterize or are

inconsistent with that document. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 330 and denies them on that basis.

       331.    The allegations in Paragraph 331 purport to reference documents that speak for

themselves. ECI denies the allegations in Paragraph 331 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in the second sentence in Paragraph 331 and denies them on that

basis. ECI denies the remaining allegations in Paragraph 331.

       G.      Preliminary Economic Analysis Confirms the Impact of RealPage’s Revenue
               Management on Multifamily Rental Markets Nationwide.

       332.    ECI denies the allegations in Paragraph 332.



                                                56
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 56 of 107 PageID #: 5908
               i.     Defendants’ Increased Revenues Resulted from Proportionally Higher,
                      Artificially Inflated Rent Increases.

       333.    The allegations in Paragraph 333 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 333 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 333.

       334.    The allegations in Paragraph 334 purport to reference documents and/or data that

speak for themselves. ECI denies the allegations in Paragraph 334 to the extent they

mischaracterize or are inconsistent with those documents and/or data and to the extent the data is

flawed or inaccurate. ECI denies the remaining allegations in Paragraph 334.

       335.    The allegations in Paragraph 335 purport to reference documents and/or data that

speak for themselves. ECI denies the allegations in Paragraph 335 to the extent they

mischaracterize or are inconsistent with those documents and/or data and to the extent the data is

flawed or inaccurate. ECI denies the remaining allegations in Paragraph 335.

       336.    The allegations in Paragraph 336 purport to quote documents or statements that

speak for themselves. ECI denies the allegations in Paragraph 336 to the extent they

mischaracterize or are inconsistent with those documents or statements. ECI denies the remaining

allegations in Paragraph 336.

               ii.    Owners, Owner-Operators, and Managing Defendants Engaged in
                      Tacit Collusion to Artificially Increase Multifamily Rental Prices.

       337.    ECI denies the allegations in Paragraph 337.

       338.    ECI denies the allegations in Paragraph 338.

       339.    ECI denies the characterization of Nashville as a “submarket.” ECI admits that it

owns or manages a multifamily residential apartment building in the greater Nashville area. ECI




                                               57
Case 3:24-cv-00274      Document 226        Filed 02/05/24      Page 57 of 107 PageID #: 5909
lacks knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 339 as to any other Defendant and denies them on that basis.

       340.    ECI denies the characterization of Atlanta as a “submarket.” ECI admits that it

owns or manages certain multifamily residential apartment buildings in the greater Atlanta area.

ECI lacks knowledge or information sufficient to form a belief as to the truth of the allegations in

Paragraph 340 as to any other Defendant and denies them on that basis.

       341.    ECI denies the characterization of Boston as a “submarket.” ECI lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

341 and denies them on that basis.

       342.    ECI denies the characterization of Dallas as a “submarket.” ECI lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

342 denies them on that basis.

       343.    ECI denies the characterization of Denver as a “submarket.” ECI lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

343 and denies them on that basis.

       344.    ECI denies the characterization of the District of Columbia as a “submarket.” ECI

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 344 and denies them on that basis.

       345.    ECI denies the characterization of Miami as a “submarket.” ECI lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

345 and denies them on that basis.




                                                58
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 58 of 107 PageID #: 5910
       346.    ECI denies the characterization of Portland as a “submarket.” ECI lacks knowledge

or information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

346 and denies them on that basis.

       347.    ECI denies the characterization of New York as a “submarket.” ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 347 and denies them on that basis.

       348.    ECI denies the allegations in Paragraph 348.

       349.    ECI denies the allegations in Paragraph 349.

       350.    ECI denies the allegations in Paragraph 350.

               iii.    Supply and Demand Factors Do Not Explain Inflated Rental Prices.

       351.    ECI lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 351 and denies them on that basis.

       352.    ECI denies the allegations in Paragraph 352.

       353.    ECI denies the allegations in Paragraph 353.

       354.    ECI denies the allegations in Paragraph 354.

               iv.     Atlanta Submarket.

       355.    ECI denies the allegations in Paragraph 355.

       356.    ECI denies the allegations in Paragraph 356.

       357.    ECI denies the allegations in Paragraph 357.

       358.    ECI denies the allegations in Paragraph 358.

       359.    ECI denies the allegations in Paragraph 359.

       360.    ECI denies the allegations in Paragraph 360.

               v.      Orlando Submarket.

       361.    ECI denies the allegations in Paragraph 361.


                                                59
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 59 of 107 PageID #: 5911
               vi.     Phoenix Submarket.

       362.    ECI denies the allegations in Paragraph 362.

               vii.    Fort Worth (Dallas Submarket).

       363.    ECI denies the allegations in Paragraph 363.

       364.    ECI denies the allegations in Paragraph 364.

       365.    ECI denies the allegations in Paragraph 365.

       H.      “Plus Factors” in the Multifamily Rental Housing Market Provide Additional
               Evidence of a Price Fixing Conspiracy.

       366.    The allegations in Paragraph 366 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 366 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 366.

       367.    ECI denies the allegations in Paragraph 367.

               i.      The Multifamily Rental Market Is Highly Concentrated.

       368.    The allegations in Paragraph 368 purport to cite documents that speak for

themselves. ECI denies the allegations in Paragraph 368 to the extent they mischaracterize or are

inconsistent with those documents. ECI lacks knowledge or information sufficient to form a belief

as to the truth of the allegations in the fourth sentence of Paragraph 368, and on that basis denies

them. ECI denies the remaining allegations in Paragraph 368.

               ii.     High Barriers to Entry.

       369.    ECI denies the allegations in Paragraph 369.

       370.    ECI denies the allegations in Paragraph 370.

       371.    ECI denies the allegations in Paragraph 371.

               iii.    High Switching Costs for Renters.

       372.    ECI denies the allegations in Paragraph 372.




                                                60
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 60 of 107 PageID #: 5912
       373.    ECI denies the allegations in the first sentence of Paragraph 373. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 373 and denies them on that basis.

       374.    ECI denies the allegations in Paragraph 374.

               iv.     Inelasticity of Demand.

       375.    ECI denies the allegations in Paragraph 375.

       376.    ECI denies the allegations in Paragraph 376.

               v.      Multifamily Rental Housing Units Are a Fungible Product.

       377.    ECI denies the allegations in Paragraph 377.

       378.    The allegations in Paragraph 378 purport to quote documents that speak for

themselves. ECI denies the allegations in Paragraph 378 to the extent they mischaracterize or are

inconsistent with those documents. ECI denies the remaining allegations in Paragraph 378.

       379.    ECI denies the allegations in Paragraph 379.

               vi.     Defendants Exchange Competitively Sensitive Information.

       380.    ECI denies the allegations in Paragraph 380.

               vii.    Motive, Opportunities, and Invitations to Collude.

       381.    The allegations in Paragraph 381 purport to reference a document that speaks for

itself. ECI denies the allegations in Paragraph 381 to the extent they mischaracterize or are

inconsistent with that document. ECI denies the remaining allegations in Paragraph 381.

       382.    ECI denies the allegations in Paragraph 382.

       383.    ECI denies the existence of the alleged conspiracy. The allegations in Paragraph

383 purport to quote documents that speak for themselves. ECI denies the allegations in Paragraph

383 to the extent they mischaracterize or are inconsistent with those documents. ECI lacks




                                                61
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 61 of 107 PageID #: 5913
knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 383 and denies them on that basis.

       384.    ECI denies the existence of the alleged conspiracy and of any “cartel members.”

ECI denies the allegations in the first sentence of Paragraph 384. The allegations in Paragraph 384

purport to reference documents that speak for themselves. ECI denies the allegations in Paragraph

384 to the extent they mischaracterize or are inconsistent with those documents. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 384 and denies them on that basis.

       385.    ECI denies the existence of the alleged conspiracy. ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 385

and denies them on that basis.

       386.    ECI denies the allegations in the first sentence in Paragraph 386. ECI further denies

that any of the listed associations “serve as conduits of the cartel and facilitate opportunities to

conspire and exchange information through meetings, webinars, and information portals, all of

which are accessible only to trade association members.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in the last sentence in

Paragraph 386 and denies them on that basis.

       387.    ECI denies the existence of the alleged conspiracy and of the claimed

“opportunities for collusion amongst a large group of landlords who have shared economic goals.”

The allegations in Paragraph 387 purport to quote documents that speak for themselves. ECI denies

the allegations in Paragraph 387 to the extent they mischaracterize or are inconsistent with those

documents. ECI lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 387 and denies them on that basis.




                                                 62
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 62 of 107 PageID #: 5914
       388.    ECI denies the existence of the alleged conspiracy and of the claimed

“opportunities for collusion amongst landlords who have shared economic goals.” The allegations

in Paragraph 388 purport to quote documents that speak for themselves. ECI denies the allegations

in Paragraph 388 to the extent they mischaracterize or are inconsistent with those documents. ECI

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 388 and denies them on that basis.

       389.    ECI denies the allegations in Paragraph 389.

       390.    ECI denies the existence of the alleged conspiracy and denies that the listed

associations “serve as conduits of the cartel . . . by providing venues for Defendant RealPage and

its participating Owner-Operators and Managing Defendants to further their cartel’s goals” as

alleged. ECI lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 390 and denies them on that basis.

       391.    ECI denies the existence of the alleged conspiracy and denies that the listed

associations “serve as conduits of the cartel . . . by providing venues for Defendant RealPage and

its participating Owner-Operators and Managing Defendants to further their cartel’s goals” as

alleged. ECI lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 391 and denies them on that basis.

VI.    RELEVANT MARKET

       392.    ECI denies the allegations in Paragraph 392.

       393.    ECI denies the allegations in Paragraph 393.

       B.      The Relevant Product Market Is Multifamily Residential Real Estate Leases.

       394.    ECI denies the allegations in Paragraph 394.

       395.    ECI denies the allegations in Paragraph 395.

       396.    ECI denies the allegations in Paragraph 396.


                                               63
Case 3:24-cv-00274      Document 226        Filed 02/05/24      Page 63 of 107 PageID #: 5915
       397.    The allegations in Paragraph 397 purport to quote a website that speaks for itself.

ECI denies the allegations in Paragraph 397 to the extent they mischaracterize or are inconsistent

with that website. ECI lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in Paragraph 397 and denies them on that basis.

       398.    ECI denies the allegations in Paragraph 398.

       399.    ECI denies the allegations in Paragraph 399.

       C.      Defendants’ Market Power in the Multifamily Residential Real Estate Market.

       400.    ECI denies the allegations in Paragraph 400.

       401.    ECI denies the allegations in Paragraph 401.

       402.    The allegations in Paragraph 402 purport to quote documents and/or data that speak

for themselves. ECI denies the allegations in Paragraph 402 to the extent they mischaracterize or

are inconsistent with those documents and/or data and to the extent the data is flawed or inaccurate.

ECI denies the remaining allegations in Paragraph 402.

       403.    ECI denies the allegations in Paragraph 403.

       404.    ECI denies the allegations in Paragraph 404.

       D.      Regional Submarkets

       405.    ECI denies the allegations in the second and last sentences in Paragraph 405. ECI

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 405 and denies them on that basis.

       406.    ECI admits that it owns or manages multifamily residential apartment buildings in

more than one area in the United States. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in the first sentence in Paragraph 406 as to any other

Defendant and denies them on that basis. ECI denies the remaining allegations in Paragraph 406.




                                                 64
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 64 of 107 PageID #: 5916
         407.   ECI denies that MSAs are relevant markets for purposes of this litigation. The

allegations in Paragraph 407 purport to quote documents that speak for themselves. ECI denies the

allegations in Paragraph 407 to the extent they mischaracterize or are inconsistent with those

documents. ECI lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 407 and denies them on that basis.

         408.   ECI denies the allegations in Paragraph 408.

         409.   ECI admits that Plaintiffs have made such allegations but denies that those

allegations have any merit.

                i.     Nashville, Tennessee

         410.   ECI denies that Nashville is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 410 and denies them on that

basis.

         411.   The allegations in Paragraph 411 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 411 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 411.

         412.   ECI denies the allegations in Paragraph 412.

         413.   ECI denies that Nashville is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI admits that it owns or

manages a multifamily residential apartment building in the greater Nashville area. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 413 and denies them on that basis.

         414.   ECI denies the allegations in Paragraph 414.


                                                65
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 65 of 107 PageID #: 5917
       415.    ECI denies the allegations in Paragraph 415.

               ii.     Atlanta, Georgia

       416.    ECI denies that Atlanta is a relevant “submarket” and denies that MSAs are relevant

markets for purposes of this litigation. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 416 and denies them on that basis.

       417.    The allegations in Paragraph 417 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 417 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 417.

       418.    ECI denies the allegations in Paragraph 418.

       419.    ECI denies that Atlanta is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI admits that it owns or manages

certain multifamily residential apartment buildings in the greater Atlanta area. ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 419 and denies them on that basis.

       420.    ECI denies the allegations in Paragraph 420.

       421.    ECI denies the allegations in Paragraph 421.

               iii.    Austin, Texas

       422.    ECI denies that Austin is a relevant “submarket” and denies that MSAs are relevant

markets for purposes of this litigation. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 422 and denies them on that basis.

       423.    The allegations in Paragraph 423 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 423 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 423.

       424.    ECI denies the allegations in Paragraph 424.


                                                66
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 66 of 107 PageID #: 5918
         425.   ECI denies that Austin is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 425 and denies

them on that basis.

         426.   ECI denies the allegations in Paragraph 426.

         427.   ECI denies the allegations in Paragraph 427.

                iv.    Baltimore, Maryland

         428.   ECI denies that Baltimore is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 428 and denies them on that

basis.

         429.   The allegations in Paragraph 429 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 429 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 429.

         430.   ECI denies the allegations in Paragraph 430.

         431.   ECI denies that Baltimore is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 431

and denies them on that basis.

         432.   ECI denies the allegations in Paragraph 432.

         433.   ECI denies the allegations in Paragraph 433.

         434.   ECI denies the allegations in Paragraph 434.


                                                 67
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 67 of 107 PageID #: 5919
                v.     Boston, Massachusetts

         435.   ECI denies that Boston is a relevant “submarket” and denies that MSAs are relevant

markets for purposes of this litigation. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 435 and denies them on that basis.

         436.   The allegations in Paragraph 436 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 436 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 436.

         437.   ECI denies the allegations in Paragraph 437.

         438.   ECI denies that Boston is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 438 and denies

them on that basis.

         439.   ECI denies the allegations in Paragraph 439.

         440.   ECI denies the allegations in Paragraph 440.

         441.   ECI denies the allegations in Paragraph 441.

                vi.    Charlotte, North Carolina

         442.   ECI denies that Charlotte is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 442 and denies them on that

basis.

         443.   The allegations in Paragraph 443 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 443 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 443.


                                                68
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 68 of 107 PageID #: 5920
         444.   ECI denies the allegations in Paragraph 444.

         445.   ECI denies that Charlotte is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 445

and denies them on that basis.

         446.   ECI denies the allegations in Paragraph 446.

         447.   ECI denies the allegations in Paragraph 447.

                vii.   Chicago, Illinois

         448.   ECI denies that Chicago is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 448 and denies them on that

basis.

         449.   The allegations in Paragraph 449 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 449 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 449.

         450.   ECI denies the allegations in Paragraph 450.

         451.   ECI denies that Chicago is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 451 and denies

them on that basis.

         452.   ECI denies the allegations in Paragraph 452.

         453.   ECI denies the allegations in Paragraph 453.


                                                 69
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 69 of 107 PageID #: 5921
               viii.   Dallas, Texas

       454.    ECI denies that Dallas is a relevant “submarket” and denies that MSAs are relevant

markets for purposes of this litigation. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 454 and denies them on that basis.

       455.    The allegations in Paragraph 455 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 455 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 455.

       456.    ECI denies the allegations in Paragraph 456.

       457.    ECI denies that Dallas is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 457 and denies

them on that basis.

       458.    ECI denies the allegations in Paragraph 458.

       459.    ECI denies the allegations in Paragraph 459.

               ix.     Denver, Colorado

       460.    ECI denies that Denver is a relevant “submarket” and denies that MSAs are relevant

markets for purposes of this litigation. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 460 and denies them on that basis.

       461.    The allegations in Paragraph 461 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 461 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 461.

       462.    ECI denies the allegations in Paragraph 462.




                                                70
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 70 of 107 PageID #: 5922
       463.    ECI denies that Denver is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 463 and denies

them on that basis.

       464.    ECI denies the allegations in Paragraph 464.

       465.    ECI denies the allegations in Paragraph 465.

       466.    ECI denies the allegations in Paragraph 466.

               x.      Detroit, Michigan

       467.    ECI denies that Detroit is a relevant “submarket” and denies that MSAs are relevant

markets for purposes of this litigation. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 467 and denies them on that basis.

       468.    The allegations in Paragraph 468 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 468 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 468.

       469.    ECI denies the allegations in Paragraph 469.

       470.    ECI denies that Detroit is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 470 and denies

them on that basis.

       471.    ECI denies the allegations in Paragraph 471.

       472.    ECI denies the allegations in Paragraph 472.




                                                71
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 71 of 107 PageID #: 5923
                xi.    Houston, Texas

         473.   ECI denies that Houston is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 473 and denies them on that

basis.

         474.   The allegations in Paragraph 474 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 474 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 474.

         475.   ECI denies the allegations in Paragraph 475.

         476.   ECI admits that it owns or manages a multifamily residential apartment building in

the greater Houston area. ECI denies that Houston is a relevant “submarket.” ECI further denies

the allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 476

and denies them on that basis.

         477.   ECI denies the allegations in Paragraph 477.

         478.   ECI denies the allegations in Paragraph 478.

                xii.   Jacksonville, Florida

         479.   ECI denies that Jacksonville is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 479 and denies them on that

basis.




                                                 72
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 72 of 107 PageID #: 5924
         480.   The allegations in Paragraph 480 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 480 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 480.

         481.   ECI denies the allegations in Paragraph 481.

         482.   ECI denies that Jacksonville is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 482

and denies them on that basis.

         483.   ECI denies the allegations in Paragraph 483.

         484.   ECI denies the allegations in Paragraph 484.

                xiii.   Las Vegas, Nevada

         485.   ECI denies that Las Vegas is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 485 and denies them on that

basis.

         486.   The allegations in Paragraph 486 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 486 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 486.

         487.   ECI denies the allegations in Paragraph 487.

         488.   ECI denies that Las Vegas is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or




                                                 73
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 73 of 107 PageID #: 5925
information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 488

and denies them on that basis.

         489.   ECI denies the allegations in Paragraph 489.

         490.   ECI denies the allegations in Paragraph 490.

                xiv.   Los Angeles, California

         491.   ECI denies that Los Angeles is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 491 and denies them on that

basis.

         492.   The allegations in Paragraph 492 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 492 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 492.

         493.   ECI denies the allegations in Paragraph 493.

         494.   ECI denies that Los Angeles is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 494

and denies them on that basis.

         495.   ECI denies the allegations in Paragraph 495.

         496.   ECI denies the allegations in Paragraph 496.

         497.   ECI denies the allegations in Paragraph 497.

                xv.    Memphis, Tennessee

         498.   ECI denies that Memphis is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to


                                                 74
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 74 of 107 PageID #: 5926
form a belief as to the truth of the remaining allegations in Paragraph 498 and denies them on that

basis.

         499.   The allegations in Paragraph 499 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 499 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 499.

         500.   ECI denies the allegations in Paragraph 500.

         501.   ECI denies that Memphis is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 501

and denies them on that basis.

         502.   ECI denies the allegations in Paragraph 502.

         503.   ECI denies the allegations in Paragraph 503.

                xvi.   Miami, Florida

         504.   ECI denies that Miami is a relevant “submarket” and denies that MSAs are relevant

markets for purposes of this litigation. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 504 and denies them on that basis.

         505.   The allegations in Paragraph 505 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 505 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 505.

         506.   ECI denies the allegations in Paragraph 506.

         507.   ECI denies that Miami is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information


                                                 75
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 75 of 107 PageID #: 5927
sufficient to form a belief as to the truth of the remaining allegations in Paragraph 507 and denies

them on that basis.

         508.   ECI denies the allegations in Paragraph 508.

         509.   ECI denies the allegations in Paragraph 509.

                xvii.   Milwaukee, Wisconsin

         510.   ECI denies that Milwaukee is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 510 and denies them on that

basis.

         511.   The allegations in Paragraph 511 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 511 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 511.

         512.   ECI denies the allegations in Paragraph 512.

         513.   ECI denies that Milwaukee is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 513

and denies them on that basis.

         514.   ECI denies the allegations in Paragraph 514.

         515.   ECI denies the allegations in Paragraph 515.

                xviii. Minneapolis, Minnesota

         516.   ECI denies that Minneapolis is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to




                                                 76
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 76 of 107 PageID #: 5928
form a belief as to the truth of the remaining allegations in Paragraph 516 and denies them on that

basis.

         517.   The allegations in Paragraph 517 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 517 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 517.

         518.   ECI denies the allegations in Paragraph 518.

         519.   ECI denies that Minneapolis is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 519

and denies them on that basis.

         520.   ECI denies the allegations in Paragraph 520.

         521.   ECI denies the allegations in Paragraph 521.

                xix.   New York, New York

         522.   ECI denies that New York is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 522 and denies them on that

basis.

         523.   The allegations in Paragraph 523 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 523 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 523.

         524.   ECI denies the allegations in Paragraph 524.

         525.   ECI denies that New York is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different


                                                 77
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 77 of 107 PageID #: 5929
RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 525

and denies them on that basis.

         526.   ECI denies the allegations in Paragraph 526.

         527.   ECI denies the allegations in Paragraph 527.

         528.   ECI denies the allegations in Paragraph 528.

                xx.    Orlando, Florida

         529.   ECI denies that Orlando is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 529 and denies them on that

basis.

         530.   The allegations in Paragraph 530 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 530 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 530.

         531.   ECI denies the allegations in Paragraph 531.

         532.   ECI admits that it owns or manages a multifamily residential apartment building in

the greater Orlando area. ECI denies that Orlando is a relevant “submarket.” ECI further denies

the allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 532

and denies them on that basis.

         533.   ECI denies the allegations in Paragraph 533.

         534.   ECI denies the allegations in Paragraph 534.




                                                 78
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 78 of 107 PageID #: 5930
                xxi.    Philadelphia, Pennsylvania

         535.   ECI denies that Philadelphia is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 535 and denies them on that

basis.

         536.   The allegations in Paragraph 536 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 536 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 536.

         537.   ECI denies the allegations in Paragraph 537.

         538.   ECI denies that Philadelphia is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 538

and denies them on that basis.

         539.   ECI denies the allegations in Paragraph 539.

                xxii.   Phoenix, Arizona

         540.   ECI denies that Phoenix is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 540 and denies them on that

basis.

         541.   The allegations in Paragraph 541 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 541 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 541.

         542.   ECI denies the allegations in Paragraph 542.


                                                 79
Case 3:24-cv-00274        Document 226        Filed 02/05/24      Page 79 of 107 PageID #: 5931
         543.   ECI denies that Phoenix is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 543 and denies

them on that basis.

         544.   ECI denies the allegations in Paragraph 544.

         545.   ECI denies the allegations in Paragraph 545.

         546.   ECI denies the allegations in Paragraph 546.

                xxiii. Pittsburgh, Pennsylvania

         547.   ECI denies that Pittsburgh is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 547 and denies them on that

basis.

         548.   The allegations in Paragraph 548 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 548 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 548.

         549.   ECI denies the allegations in Paragraph 549.

         550.   ECI denies that Pittsburgh is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 550

and denies them on that basis.

         551.   ECI denies the allegations in Paragraph 551.

         552.   ECI denies the allegations in Paragraph 552.


                                                 80
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 80 of 107 PageID #: 5932
                xxiv. Portland, Oregon

         553.   ECI denies that Portland is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 553 and denies them on that

basis.

         554.   The allegations in Paragraph 554 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 554 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 554.

         555.   ECI denies the allegations in Paragraph 555.

         556.   ECI denies that Portland is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 556 and denies

them on that basis.

         557.   ECI denies the allegations in Paragraph 557.

         558.   ECI denies the allegations in Paragraph 558.

         559.   ECI denies the allegations in Paragraph 559.

                xxv.   San Diego, California

         560.   ECI denies that San Diego is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 560 and denies them on that

basis.




                                                 81
Case 3:24-cv-00274        Document 226        Filed 02/05/24      Page 81 of 107 PageID #: 5933
         561.   The allegations in Paragraph 561 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 561 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 561.

         562.   ECI denies the allegations in Paragraph 562.

         563.   ECI denies that San Diego is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 563

and denies them on that basis.

         564.   ECI denies the allegations in Paragraph 564.

         565.   ECI denies the allegations in Paragraph 565.

         566.   ECI denies the allegations in Paragraph 566.

                xxvi. San Francisco, California

         567.   ECI denies that San Francisco is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 567 and denies them on that

basis.

         568.   The allegations in Paragraph 568 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 568 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 568.

         569.   ECI denies the allegations in Paragraph 569.

         570.   ECI denies that San Francisco is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or


                                                 82
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 82 of 107 PageID #: 5934
information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 570

and denies them on that basis.

         571.   ECI denies the allegations in Paragraph 571.

         572.   ECI denies the allegations in Paragraph 572.

         573.   ECI denies the allegations in Paragraph 573.

                xxvii. San Jose, California

         574.   ECI denies that San Jose is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 574 and denies them on that

basis.

         575.   The allegations in Paragraph 575 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 575 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 575.

         576.   ECI denies the allegations in Paragraph 576.

         577.   ECI denies that San Jose is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 577

and denies them on that basis.

         578.   ECI denies the allegations in Paragraph 578.

         579.   ECI denies the allegations in Paragraph 579.

         580.   ECI denies the allegations in Paragraph 580.




                                                 83
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 83 of 107 PageID #: 5935
                xxviii. Seattle, Washington

         581.   ECI denies that Seattle is a relevant “submarket” and denies that MSAs are relevant

markets for purposes of this litigation. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 581 and denies them on that basis.

         582.   The allegations in Paragraph 582 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 582 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 582.

         583.   ECI denies the allegations in Paragraph 583.

         584.   ECI denies that Seattle is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 584 and denies

them on that basis.

         585.   ECI denies the allegations in Paragraph 585.

         586.   ECI denies the allegations in Paragraph 586.

         587.   ECI denies the allegations in Paragraph 587.

                xxix. St. Louis, Missouri

         588.   ECI denies that St. Louis is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 588 and denies them on that

basis.

         589.   The allegations in Paragraph 589 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 589 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 589.


                                                 84
Case 3:24-cv-00274       Document 226         Filed 02/05/24     Page 84 of 107 PageID #: 5936
       590.    ECI denies the allegations in Paragraph 590.

       591.    ECI denies that St. Louis is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 591

and denies them on that basis.

       592.    ECI denies the allegations in Paragraph 592.

       593.    ECI denies the allegations in Paragraph 593.

               xxx.    Tampa, Florida

       594.    ECI denies that Tampa is a relevant “submarket” and denies that MSAs are relevant

markets for purposes of this litigation. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 594 and denies them on that basis.

       595.    The allegations in Paragraph 595 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 595 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 595.

       596.    ECI denies the allegations in Paragraph 596.

       597.    ECI admits that it owns or manages certain multifamily residential apartment

buildings in the greater Tampa area. ECI denies that Tampa is a relevant “submarket.” ECI further

denies the allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that

different RealPage products can appropriately be grouped together as “RMS.” ECI lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 597 and denies them on that basis.

       598.    ECI denies the allegations in Paragraph 598.

       599.    ECI denies the allegations in Paragraph 599.


                                                 85
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 85 of 107 PageID #: 5937
               xxxi. Tucson, Arizona

        600.   ECI denies that Tucson is a relevant “submarket” and denies that MSAs are relevant

markets for purposes of this litigation. ECI lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 600 and denies them on that basis.

        601.   The allegations in Paragraph 601 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 601 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 601.

        602.   ECI denies the allegations in Paragraph 602.

        603.   ECI denies that Tucson is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage

products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 603 and denies

them on that basis.

        604.   ECI denies the allegations in Paragraph 604.

        605.   ECI denies the allegations in Paragraph 605.

               xxxii. Washington, District of Columbia

        606.   ECI denies that Washington D.C. is a relevant “submarket” and denies that MSAs

are relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient

to form a belief as to the truth of the remaining allegations in Paragraph 606 and denies them on

that basis.

        607.   The allegations in Paragraph 607 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 607 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 607.

        608.   ECI denies the allegations in Paragraph 608.


                                                86
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 86 of 107 PageID #: 5938
         609.   ECI denies that Washington D.C. is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 609

and denies them on that basis.

         610.   ECI denies the allegations in Paragraph 610.

         611.   ECI denies the allegations in Paragraph 611.

         612.   ECI denies the allegations in Paragraph 612.

                xxxiii. Wilmington, North Carolina

         613.   ECI denies that Wilmington is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 613 and denies them on that

basis.

         614.   The allegations in Paragraph 614 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 614 to the extent they mischaracterize or are

inconsistent with that website. ECI denies the remaining allegations in Paragraph 614.

         615.   ECI denies the allegations in Paragraph 615.

         616.   ECI denies that Wilmington is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 616

and denies them on that basis.

         617.   ECI denies the allegations in Paragraph 617.

         618.   ECI denies the allegations in Paragraph 618.


                                                 87
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 87 of 107 PageID #: 5939
       619.    ECI denies the allegations in Paragraph 619.

               xxxiv. Birmingham-Hoover, AL MSA

       620.    The allegations in Paragraph 620 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 620 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that Birmingham is a relevant “submarket” and denies

that MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations

in Paragraph 620.

       621.    ECI denies the allegations in Paragraph 621.

       622.    ECI denies that Birmingham is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 622

and denies them on that basis.

       623.    ECI denies the allegations in Paragraph 623.

       624.    ECI denies the allegations in Paragraph 624.

               xxxv. Buffalo, New York

       625.    The allegations in Paragraph 625 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 625 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that Buffalo is a relevant “submarket” and denies that

MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations in

Paragraph 625.

       626.    ECI denies the allegations in Paragraph 626.

       627.    ECI denies that Buffalo is a relevant “submarket.” ECI further denies the allegation

that “multifamily units [are] priced with RealPage RMS.” ECI denies that different RealPage


                                                 88
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 88 of 107 PageID #: 5940
products can appropriately be grouped together as “RMS.” ECI lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 627 and denies

them on that basis.

       628.    ECI denies the allegations in Paragraph 628.

       629.    ECI denies the allegations in Paragraph 629.

               xxxvi. Cincinnati, Ohio

       630.    The allegations in Paragraph 630 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 630 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that Cincinnati is a relevant “submarket” and denies that

MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations in

Paragraph 630.

       631.    ECI denies the allegations in Paragraph 631.

       632.    ECI denies that Cincinnati is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 632

and denies them on that basis.

       633.    ECI denies the allegations in Paragraph 633.

       634.    ECI denies the allegations in Paragraph 634.

               xxxvii. Cleveland, Ohio

       635.    The allegations in Paragraph 635 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 635 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that Cleveland is a relevant “submarket” and denies that

MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations in


                                                 89
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 89 of 107 PageID #: 5941
Paragraph 635.

       636.    ECI denies the allegations in Paragraph 636.

       637.    ECI denies that Cleveland is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 637

and denies them on that basis.

       638.    ECI denies the allegations in Paragraph 638.

       639.    ECI denies the allegations in Paragraph 639.

               xxxviii.          Columbus, Ohio

       640.    The allegations in Paragraph 640 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 640 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that Columbus is a relevant “submarket” and denies that

MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations in

Paragraph 640.

       641.    ECI denies the allegations in Paragraph 641.

       642.    ECI denies that Columbus is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 642

and denies them on that basis.

       643.    ECI denies the allegations in Paragraph 643.

       644.    ECI denies the allegations in Paragraph 644.




                                                 90
Case 3:24-cv-00274        Document 226        Filed 02/05/24      Page 90 of 107 PageID #: 5942
               xxxix. Hartford, Connecticut

       645.    The allegations in Paragraph 645 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 645 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that Hartford is a relevant “submarket” and denies that

MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations in

Paragraph 645.

       646.    ECI denies the allegations in Paragraph 646.

       647.    ECI denies that Hartford is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 647

and denies them on that basis.

       648.    ECI denies the allegations in Paragraph 648.

       649.    ECI denies the allegations in Paragraph 649.

               xl.     Riverside, California

       650.    The allegations in Paragraph 650 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 650 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that Riverside is a relevant “submarket” and denies that

MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations in

Paragraph 650.

       651.    ECI denies the allegations in Paragraph 651.

       652.    ECI denies that Riverside is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or


                                                 91
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 91 of 107 PageID #: 5943
information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 652

and denies them on that basis.

       653.    ECI denies the allegations in Paragraph 653.

       654.    ECI denies the allegations in Paragraph 654.

               xli.    Sacramento, California

       655.    The allegations in Paragraph 655 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 655 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that Sacramento is a relevant “submarket” and denies

that MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations

in Paragraph 655.

       656.    ECI denies the allegations in Paragraph 656.

       657.    ECI denies that Sacramento is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 657

and denies them on that basis.

       658.    ECI denies the allegations in Paragraph 658.

       659.    ECI denies the allegations in Paragraph 659.

               xlii.   Salt Lake City, Utah

       660.    The allegations in Paragraph 660 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 660 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that Salt Lake City is a relevant “submarket” and denies

that MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations

in Paragraph 660.


                                                 92
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 92 of 107 PageID #: 5944
       661.    ECI denies the allegations in Paragraph 661.

       662.    ECI denies that Salt Lake City is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 662

and denies them on that basis.

       663.    ECI denies the allegations in Paragraph 663.

       664.    ECI denies the allegations in Paragraph 664.

       665.    The allegations in Paragraph 665 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 665 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that San Antonio is a relevant “submarket” and denies

that MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations

in Paragraph 665.

       666.    ECI denies the allegations in Paragraph 666.

       667.    ECI denies that San Antonio is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 667

and denies them on that basis.

       668.    ECI denies the allegations in Paragraph 668.

       669.    ECI denies the allegations in Paragraph 669.

       670.    ECI denies that San Juan is a relevant “submarket” and denies that MSAs are

relevant markets for purposes of this litigation. ECI denies the allegations in the last sentence in




                                                 93
Case 3:24-cv-00274       Document 226         Filed 02/05/24      Page 93 of 107 PageID #: 5945
Paragraph 670. ECI lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in Paragraph 670 and denies them on that basis.

       671.    ECI denies the allegations in Paragraph 671.

       672.    ECI denies the allegations in Paragraph 672.

               xliii.   Virginia Beach, Virginia

       673.    The allegations in Paragraph 673 purport to reference a website that speaks for

itself. ECI denies the allegations in Paragraph 673 to the extent they mischaracterize or are

inconsistent with that website. ECI denies that Virginia Beach is a relevant “submarket” and denies

that MSAs are relevant markets for purposes of this litigation. ECI denies the remaining allegations

in Paragraph 673.

       674.    ECI denies the allegations in Paragraph 674.

       675.    ECI denies that Virginia Beach is a relevant “submarket.” ECI further denies the

allegation that “multifamily units [are] priced with RealPage RMS.” ECI denies that different

RealPage products can appropriately be grouped together as “RMS.” ECI lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 675

and denies them on that basis.

       676.    ECI denies the allegations in Paragraph 676.

       677.    ECI denies the allegations in Paragraph 677.

       678.    ECI denies the allegations in Paragraph 678.

       679.    ECI denies the allegations in Paragraph 679.

       680.    ECI denies the allegations in Paragraph 680.

VII.   CLASS ACTION ALLEGATIONS

       681.    ECI admits only that Plaintiffs purport to bring a class action on behalf of a class

of persons described in Paragraph 681 against Defendants named in this action. ECI denies that


                                                 94
Case 3:24-cv-00274        Document 226        Filed 02/05/24      Page 94 of 107 PageID #: 5946
the Complaint has any merit or that class treatment is appropriate. ECI denies the remaining

allegations in Paragraph 681.

       682.    ECI admits only that Plaintiffs purport to exclude the individuals listed in Paragraph

682 from their class defined in Paragraph 681. ECI denies that class treatment is appropriate. ECI

denies the remaining allegations in Paragraph 682.

       683.    ECI denies that class treatment is appropriate. ECI denies the remaining allegations

in Paragraph 683.

       684.    ECI denies that class treatment is appropriate. ECI denies the remaining allegations

in Paragraph 684.

       685.    ECI denies that class treatment is appropriate. ECI denies the remaining allegations

in Paragraph 685.

       686.    ECI denies that class treatment is appropriate. ECI denies the remaining allegations

in Paragraph 686.

       687.    ECI denies that class treatment is appropriate. ECI denies the remaining allegations

in Paragraph 687.

       688.    ECI denies that class treatment is appropriate. ECI denies the remaining allegations

in Paragraph 688.

       689.    ECI denies that class treatment is appropriate. ECI denies the remaining allegations

in Paragraph 689.

       690.    ECI denies that class treatment is appropriate. ECI denies the remaining allegations

in Paragraph 690.

VIII. ANTITRUST INJURY

       691.    ECI denies the allegations in Paragraph 691.

       692.    ECI denies the allegations in Paragraph 692.


                                                95
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 95 of 107 PageID #: 5947
       693.    ECI denies the allegations in Paragraph 693.

IX.    CONTINUING VIOLATION

       694.    ECI denies the allegations in Paragraph 694.

       695.    ECI admits that the allegations in Paragraph 695 purport to describe the allegations

in the Complaint but denies that those allegations have any merit.

       696.    ECI denies the allegations in Paragraph 696.

       697.    ECI denies the allegations in Paragraph 697.

       698.    ECI denies the allegations in Paragraph 698.

       699.    ECI denies the allegations in Paragraph 699 and denies that Plaintiffs are entitled

to any relief as described in Paragraph 699.

       700.    ECI denies the allegations in Paragraph 700.

X.     CLAIMS FOR RELIEF

       701.    In response to the allegations in Paragraph 701, ECI incorporates by reference and

reasserts its responses to the allegations in the preceding and succeeding paragraphs.

       702.    ECI denies the allegations in Paragraph 702.

       703.    ECI denies the allegations in Paragraph 703.

       704.    ECI denies the allegations in Paragraph 704.

       705.    ECI denies the allegations in Paragraph 705.

       706.    ECI denies the allegations in Paragraph 706.

       707.    ECI denies the allegations in Paragraph 707 and denies that Plaintiffs are entitled

to any relief as described in Paragraph 707.

       708.    In response to the allegations in Paragraph 708, ECI incorporates by reference and

reasserts its responses to the allegations in the preceding and succeeding paragraphs.

       709.    ECI denies the allegations in Paragraph 709.


                                                  96
Case 3:24-cv-00274       Document 226          Filed 02/05/24   Page 96 of 107 PageID #: 5948
       710.    ECI denies the allegations in Paragraph 710.

       711.    ECI denies the allegations in Paragraph 711.

       712.    ECI denies the allegations in Paragraph 712.

       713.    ECI denies the allegations in Paragraph 713 and denies that Plaintiffs are entitled

to any relief as described in Paragraph 713.

       714.    ECI denies the allegations in Paragraph 714.

       715.    ECI denies the allegations in Paragraph 715.

       716.    ECI denies the allegations in Paragraph 716.

       717.    ECI denies the allegations in Paragraph 717.

       718.    ECI denies the allegations in Paragraph 718.

       719.    ECI denies the allegations in Paragraph 719.

       720.    ECI denies the allegations in Paragraph 720.

       721.    ECI denies the allegations in Paragraph 721.

       722.    ECI denies the allegations in Paragraph 722.

       723.    ECI denies the allegations in Paragraph 723.

       724.    ECI denies the allegations in Paragraph 724.

       725.    ECI denies the allegations in Paragraph 725.

       726.    ECI denies the allegations in Paragraph 726.

       727.    ECI denies the allegations in Paragraph 727.

       728.    ECI denies the allegations in Paragraph 728.

       729.    ECI denies the allegations in Paragraph 729.

       730.    ECI denies the allegations in Paragraph 730.

       731.    ECI denies the allegations in Paragraph 731.




                                                  97
Case 3:24-cv-00274       Document 226          Filed 02/05/24   Page 97 of 107 PageID #: 5949
      732.   ECI denies the allegations in Paragraph 732.

      733.   ECI denies the allegations in Paragraph 733.

      734.   ECI denies the allegations in Paragraph 734.

      735.   ECI denies the allegations in Paragraph 735.

      736.   ECI denies the allegations in Paragraph 736.

      737.   ECI denies the allegations in Paragraph 737.

      738.   ECI denies the allegations in Paragraph 738.

      739.   ECI denies the allegations in Paragraph 739.

      740.   ECI denies the allegations in Paragraph 740.

      741.   ECI denies the allegations in Paragraph 741.

      742.   ECI denies the allegations in Paragraph 742.

      743.   ECI denies the allegations in Paragraph 743.

      744.   ECI denies the allegations in Paragraph 744.

      745.   ECI denies the allegations in Paragraph 745.

      746.   ECI denies the allegations in Paragraph 746.

      747.   ECI denies the allegations in Paragraph 747.

      748.   ECI denies the allegations in Paragraph 748.

      749.   ECI denies the allegations in Paragraph 749.

      750.   ECI denies the allegations in Paragraph 750.

      751.   ECI denies the allegations in Paragraph 751.

      752.   ECI denies the allegations in Paragraph 752.

      753.   ECI denies the allegations in Paragraph 753.

      754.   ECI denies the allegations in Paragraph 754.




                                             98
Case 3:24-cv-00274    Document 226        Filed 02/05/24    Page 98 of 107 PageID #: 5950
       755.    ECI denies the allegations in Paragraph 755.

       756.    ECI denies the allegations in Paragraph 756.

       757.    ECI denies the allegations in Paragraph 757.

XI.    PRAYER FOR RELIEF

       To the extent that a response is required to Plaintiffs’ Prayer for Relief, ECI denies that

Plaintiffs are entitled to any relief. ECI respectfully requests that the Court enter judgment

dismissing Plaintiffs’ Complaint with prejudice, awarding costs and attorneys’ fees to ECI, as may

be allowed by law, and granting such other relief as the Court deems appropriate.

JURY TRIAL DEMANDED

       ECI admits that Plaintiffs demand a trial by jury for all of the issues pled that are so triable.

However, such a trial is unnecessary as Plaintiffs’ claims should be rejected as a matter of law. In

addition, ECI denies that Plaintiffs are entitled to a trial by jury to the extent a contractual

agreement to arbitrate, to waive a jury trial, or to waive a class action entered into by Plaintiffs or

any purported class member precludes such trial by jury. Certain named Plaintiffs and unnamed

class members have signed valid and enforceable jury waivers, which ECI intends to enforce.

                                          *       *       *

       ECI denies any allegations in the Complaint that it has not expressly admitted in this

Answer, including all allegations in the footnotes, headings, figures, and appendices.

                                  AFFIRMATIVE DEFENSES

       Without assuming any burden that it would not otherwise bear, ECI asserts the following

affirmative defenses to the Complaint. ECI does not concede that it has the burden of proof on

such defenses that would otherwise rest on Plaintiffs.

       To the extent necessary, ECI asserts that Plaintiffs’ claims are barred because any acts




                                                 99
Case 3:24-cv-00274        Document 226        Filed 02/05/24       Page 99 of 107 PageID #: 5951
 Plaintiffs allege ECI undertook in furtherance of the alleged conspiracy were in ECI’s unilateral

 business interest. ECI reserves the right to assert additional avoidances and defenses as they

 become known during discovery and based on the record as it develops, up to and including the

 time of trial.

                                             First Defense

         Plaintiffs’ claims and the claims of any putative class members are barred for failure to

 state a claim against ECI upon which relief can be granted.

                                           Second Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, by the applicable federal and state statute(s) of limitations. To the extent Plaintiffs seek to

 bring claims outside the applicable statute of limitations, the Complaint is time-barred. To the

 extent that the Complaint relies on information made public more than four years ago, Plaintiffs’

 Complaint is time-barred.

                                            Third Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, by the doctrines of laches, estoppel, and waiver.

         Plaintiffs have failed to diligently pursue their federal and state antitrust claims, which are

 based on information that has long been publicly available, and ECI has been prejudiced by this

 lack of diligence. Accordingly, the equitable principles embodied in the laches doctrine bar

 Plaintiffs from seeking relief at this delayed juncture.

         Plaintiffs’ continued rental leases at what they now allege are prices above the competitive

 level manifest an intention to waive any right to bring this suit and are inconsistent with any other




                                                  100
Case 3:24-cv-00274        Document 226         Filed 02/05/24      Page 100 of 107 PageID #: 5952
 intention. Plaintiffs, by their actions, accepted the benefits of an ongoing relationship with

 Defendants and relinquished their rights to bring suit.

                                          Fourth Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, by lack of standing.

                                            Fifth Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, because they have not suffered an injury in fact or antitrust injury and do not face threatened

 injury in fact or antitrust injury.

                                           Sixth Defense

         ECI is entitled to set off from any recovery Plaintiffs and the putative class members may

 obtain against ECI, including but not limited to any amount paid to Plaintiffs and the putative class

 members by any other Defendants who have settled, or do settle, Plaintiffs’ claims and the claims

 of any putative class members in this matter.

                                          Seventh Defense

         Plaintiffs’ claims and claims of any putative class members are barred, in whole or in part,

 to the extent they seek improper multiple damage awards, and damage awards duplicative of those

 sought in other actions, in violation of the Due Process guarantees of the Fifth and Fourteenth

 Amendments of the United States Constitution and of the Eighth Amendment of the United States

 Constitution.

                                           Eighth Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, due to the ratification of, and consent to, the conduct of ECI. Plaintiffs’ Complaint




                                                 101
Case 3:24-cv-00274         Document 226       Filed 02/05/24      Page 101 of 107 PageID #: 5953
 demonstrates long-standing ratification of and consent to the complained-of conduct. Accordingly,

 because Plaintiffs have been aware for years of the very same conduct they now challenge—and

 because some of that conduct provided Plaintiffs a direct benefit—Plaintiffs’ claims are barred by

 the doctrine of ratification.

                                            Ninth Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, by the applicable limitations period set out in contracts and/or agreements executed by

 Plaintiffs and the putative class members.

                                            Tenth Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, to the extent they seek to impose liability on ECI based on the exercise of any person or

 entity’s right to petition federal, state and local legislative bodies, because such conduct was

 immune under the Noerr-Pennington doctrine and privileged under the First Amendment to the

 U.S. Constitution.

                                           Eleventh Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, to the extent that they entered into a contract that requires arbitration of the claims at issue,

 requires suit in a different forum, precludes a jury trial, or precludes a class or other representative

 proceeding.

                                           Twelfth Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in




                                                  102
Case 3:24-cv-00274         Document 226        Filed 02/05/24       Page 102 of 107 PageID #: 5954
 part, by the doctrine of unclean hands.

                                           Thirteenth Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, by the doctrine of accord and satisfaction.

                                        Fourteenth Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, because they failed to exercise reasonable care to mitigate any damages they may have

 suffered by, among other things, renewing their leases and neglecting to consider alternative

 housing options. Plaintiffs’ failure to exercise reasonable care to mitigate damages was the

 complete or partial cause of any damages Plaintiffs may have suffered.

                                           Fifteenth Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, because any alleged injuries and damages either were not legally or proximately caused by

 any acts or omissions of ECI or were caused, if at all, solely and proximately by Plaintiffs’ and the

 putative class members’ conduct or by the conduct of third parties including, without limitation,

 the prior, intervening, or superseding conduct of Plaintiffs, the putative class members, or such

 third parties.

                                           Sixteenth Defense

         Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, by their knowing acquiescence to any restraints of trade alleged in the Complaint.

                                        Seventeenth Defense

         Without admitting the existence of any contract, combination, or conspiracy in restraint of

 trade, and expressly denying same, Plaintiffs’ claims and the claims of any putative class members




                                                  103
Case 3:24-cv-00274        Document 226         Filed 02/05/24     Page 103 of 107 PageID #: 5955
 are barred, in whole or in part, to the extent that they entered into contracts that do not include any

 purported overcharge.

                                         Eighteenth Defense

        Plaintiffs’ claims and the claims of any putative class members are barred, in whole or in

 part, by ECI’s right to set off any amount paid to Plaintiffs or the putative class members by

 damages attributable to the conduct of Plaintiffs or the putative class members.

                                         Nineteenth Defense

        Some or all of Plaintiffs’ and the putative class members’ state-law claims cannot be brought

 against ECI due to a lack of jurisdiction. For instance, the laws of the states cited in Count II of the

 Complaint are not intended to, and do not, apply to conduct occurring outside of those states, and

 Plaintiffs’ Complaint does not include any Plaintiff from the States of Alaska, Arizona, District of

 Columbia, Hawaii, Idaho, Indiana, Iowa, Kansas, Louisiana, Maine, Maryland, Michigan,

 Minnesota, Mississippi, Missouri, Montana, Nebraska, New Hampshire, New Jersey, New

 Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, South

 Carolina, South Dakota, Utah, Vermont, Virginia, West Virginia, Wisconsin, and Wyoming.

        Many of the state laws allegedly giving rise to Plaintiffs’ and the putative class members’

 claims do not apply because the alleged conduct did not occur within or substantially affect the

 citizens or commerce of the respective states, or because ECI had no specific intent to impact the

 commerce of those states. As a result, the application of those state laws to ECI’s conduct would

 violate the Due Process Clauses and Commerce Clause of the U.S. Constitution, the principle of

 federalism, and the constitutions and laws of the respective states at issue.

        To the extent that the Complaint seeks to assert claims or obtain relief on behalf of

 multifamily renters located outside of the jurisdictions governed by those laws, those claims are




                                                  104
Case 3:24-cv-00274        Document 226         Filed 02/05/24       Page 104 of 107 PageID #: 5956
 barred as improper assertions of extraterritorial jurisdiction and any effort to enforce those laws as

 to residents of other states would violate the Due Process Clause and the Commerce Clause of the

 U.S. Constitution and various state laws and constitutions.

                                          Twentieth Defense

         Plaintiffs’ and the putative class members’ state-law claims are barred, in whole or in part,

 to the extent they seek damages under state laws that do not permit recovery of damages by private

 plaintiffs.

                                         Twenty-first Defense

         Plaintiffs’ claims and the claims of the putative class members are barred, in whole or in part,

 to the extent that they failed to comply with the notice requirements under various state laws.

                                       Twenty-second Defense

         Some or all of Plaintiffs’ and the putative class members’ claims are barred because all of

 ECI’s conduct challenged by Plaintiffs was lawful, fair, non-deceptive, expressly authorized by law,

 justified, and pro-competitive; it constituted a bona fide business practice consistent with industry

 practices and was carried out in furtherance of legitimate business interests; and it was an essential

 part of ECI’s lawful business operations.

                                        Twenty-third Defense

         Some or all of Plaintiffs’ and the putative class members’ state-law claims cannot be, and

 were not intended to be, applied in the class-action context.

                                       Twenty-fourth Defense

         Plaintiffs’ claims and those of the putative class are barred to the extent that any conduct

 was committed by any individual acting ultra vires or beyond the scope of any individual’s express

 or implied authority as an agent or employee of ECI.




                                                  105
Case 3:24-cv-00274        Document 226         Filed 02/05/24       Page 105 of 107 PageID #: 5957
                                       Twenty-fifth Defense

        ECI hereby incorporates and reserves the right to assert any other defense set forth by any

 other Defendant to this action. ECI further reserves the right to supplement its defenses as

 appropriate under applicable law up to and including at the time of trial.

                                 ECI’S PRAYER FOR RELIEF

    WHEREFORE, ECI prays that the Court determine and adjudge:

    (a) That the Plaintiffs’ Complaint be dismissed with prejudice;

    (b) That judgment be entered in favor of ECI and against Plaintiffs with respect to all causes

 of action in the Complaint;

    (c) That ECI be awarded its costs, disbursements, and attorneys’ fees and expenses herein; and

    (d) That ECI be awarded such other and further relief as the Court may deem proper.

        Respectfully submitted this 5th day of February, 2024.


                                                    /s/ Jeffrey S. Cashdan
                                                    Jeffrey S. Cashdan*
                                                    Emily S. Newton*
                                                    Lohr A. Beck*
                                                    Carley H. Thompson*
                                                    KING & SPALDING LLP
                                                    1180 Peachtree Street, NE, Suite 1600
                                                    Atlanta, Georgia 30309
                                                    Tel: (404) 572-4600
                                                    Fax: (404) 572-5100
                                                    jcashdan@kslaw.com
                                                    enewton@kslaw.com
                                                    lohr.beck@kslaw.com
                                                    chthompson@kslaw.com

                                                    Attorneys for Defendant
                                                    ECI Management, LLC

                                                    * admitted pro hac vice




                                                106
Case 3:24-cv-00274       Document 226        Filed 02/05/24      Page 106 of 107 PageID #: 5958
                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 5th day of February, 2024, I electronically filed the above and

 foregoing with the Clerk using the CM/ECF system, which will automatically send email

 notification of such filing to all attorneys of record.



                                                 /s/ Jeffrey S. Cashdan
                                                 Jeffrey S. Cashdan




Case 3:24-cv-00274        Document 226         Filed 02/05/24      Page 107 of 107 PageID #: 5959
